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                                   1                                UNITED STATES DISTRICT COURT

                                   2                            NORTHERN DISTRICT OF CALIFORNIA

                                   3                                       SAN JOSE DIVISION

                                   4

                                   5     UNITED STATES OF AMERICA,                        Case Nos. 11-cr-00683-BLF-1
                                                                                                    12-cr-00426-BLF-1
                                   6                   Plaintiff,                                   22-cr-00099-EJD-1
                                   7             v.
                                                                                          ORDER RELATING CASES
                                   8     CHRISTOPHER DOYON,
                                   9                   Defendant.

                                  10     UNITED STATES OF AMERICA,
                                  11                   Plaintiff,
                                  12             v.
Northern District of California
 United States District Court




                                  13     CHRISTOPHER DOYON,
                                  14                   Defendant.
                                  15     UNITED STATES OF AMERICA,
                                  16                   Plaintiff,
                                  17             v.
                                  18     CHRISTOPHER DOYON,
                                  19                   Defendant.
                                  20

                                  21          Pursuant to Criminal Local Rule 8-1, the undersigned Judge finds that United States v.
                                  22   Doyon, No. 22-cr-00099-EJD, is related to No. 11-cr-00683-BLF-1 and No. 12-cr-00426-BLF-1.
                                  23   Case No. 22-cr-00099-EJD shall be reassigned to the undersigned Judge.
                                  24          IT IS SO ORDERED.
                                  25   Dated: March 10, 2022
                                  26                                                  ______________________________________
                                                                                      BETH LABSON FREEMAN
                                  27                                                  United States District Judge
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